                                                                        Page 1

 1              IN THE UNITED STATES DISTRICT COURT
 2             FOR THE MIDDLE DISTRICT OF TENNESSEE
 3                             AT NASHVILLE
 4
 5      --------------------------
 6      GLOBAL FORCE                       )
 7      ENTERTAINMENT, INC. and            )
 8      JEFFREY JARRETT                    )
 9                          Plaintiffs/)
10               Counter-Defendants,)          CIVIL ACTION NO.
11      v.                                 )   3:18-cv-00749
12                                         )
13      ANTHEM WRESTLING                   )
14      EXHIBITIONS, LLC,                  )
15                            Defendant/)
16                 Counter-Plaintiff.)
17      --------------------------
18
19                              ------------
20      ---    This is the Videotaped Deposition of ED
21      NORDHOLM, taken at the offices Neesons, a
22      Veritext Company, 77 King Street West, Suite
23      2020, Toronto, Ontario, Canada, on the 12th day
24      of November, 2019.
25                              ------------

                               Freedom Court Reporting
 Case 3:18-cv-00749 Document 167-6A Veritext
  877-373-3660                               CompanyPage 1 of 5 PageID #: 2486
                                    Filed 06/12/20                         205-397-2397
                                                                       Page 23

 1      also a corporate title.
 2                   Q.     So what is that title?
 3                   A.     I'm the president of Anthem
 4      Wrestling, I'm currently the chief corporate
 5      officer of Anthem Sports & Entertainment Canada
 6      and of Anthem Sports & Entertainment Delaware.
 7                   Q.     Who do you report to?
 8                   A.     I report in the context of
 9      Anthem Wrestling to -- there's a board of
10      managers.      And then in the context of Anthem
11      general corporate I report to Mr. Asper.
12                   Q.     Who is on the board of managers
13      for Anthem Wrestling?
14                   A.     Myself, Mr. D'Amore, Leonard
15      Asper, Niral Merchant and Peter Einstein.
16                   Q.     You said you report to this board
17      of managers.       You're the president.          What role
18      does Mr. D'Amore hold, or what title does he
19      hold?
20                   A.     Mr. D'Amore is an independent
21      contractor as well, but he has the title of
22      executive vice president of Anthem Wrestling.
23                   Q.     So you -- among other people you
24      report to -- you as the president report to the
25      executive vice president?

                               Freedom Court Reporting
 Case 3:18-cv-00749 Document 167-6A Veritext
  877-373-3660                               CompanyPage 2 of 5 PageID #: 2487
                                    Filed 06/12/20                         205-397-2397
                                                                     Page 124

 1      October 31, 2018.
 2                   Q.     And you are both an officer of
 3      Anthem Sports & Entertainment Canada and Anthem
 4      Wrestling, correct?
 5                   A.     Yes.
 6                   Q.     And you're actually paid by
 7      Anthem Sports & Entertainment Canada, correct?
 8                   A.     Yes.
 9                   Q.     And yet you're the president of
10      Anthem Wrestling, correct?
11                   A.     Correct.
12                   Q.     So someone that is paid by Anthem
13      Sports & Entertainment Canada to run Anthem
14      Wrestling is not exerting control over the daily
15      affairs of Anthem Wrestling?
16                   A.     I exercise control as an officer
17      of Anthem Wrestling.
18                   Q.     Even though you're unpaid?
19                   A.     Recognizing my fiduciary duty is
20      to Anthem Wrestling in that capacity.
21                   Q.     Even though you're not paid by
22      Anthem Wrestling?
23                   A.     Well, Anthem Wrestling is --
24      bears my expense.         Whether I get paid in Canada
25      it's -- that salary is charged to Anthem

                               Freedom Court Reporting
 Case 3:18-cv-00749 Document 167-6A Veritext
  877-373-3660                               CompanyPage 3 of 5 PageID #: 2488
                                    Filed 06/12/20                         205-397-2397
                                                                     Page 125

 1      Wrestling.
 2                   Q.     So is there a services agreement
 3      between Anthem Wrestling and Anthem Sports &
 4      Entertainment Canada for your services?
 5                   A.     Just intercompany accounting, my
 6      salary and the salary of the Toronto people that
 7      are focused on Impact Wrestling or Anthem
 8      Wrestling are charged back to Anthem Wrestling.
 9                   Q.     So there is some shared
10      accounting among the entities?
11                   A.     Not shared accounting.           There's
12      a -- charges back-and-forth, yes.              It doesn't
13      change -- the books and records are kept
14      separate.
15                   Q.     So it's a paper transaction; it's
16      not a -- not anything other than that.                Is that
17      what you're saying?
18                   A.     What do you mean by "paper
19      transaction"?
20                   Q.     Well, it's recorded -- you take a
21      credit on our books and then a debit on their
22      books, right?
23                   A.     For the salaries of the people
24      that are employed almost -- like, that are
25      employed on the Anthem Wrestling business.

                               Freedom Court Reporting
 Case 3:18-cv-00749 Document 167-6A Veritext
  877-373-3660                               CompanyPage 4 of 5 PageID #: 2489
                                    Filed 06/12/20                         205-397-2397
                                                                     Page 199

 1                        REPORTER'S CERTIFICATE
 2
 3                   I, HELEN MARTINEAU, CSR, Certified
 4      Shorthand Reporter, certify;
 5                   That the foregoing proceedings were
 6      taken before me at the time and place therein
 7      set forth at which time the witness was put
 8      under oath by me;
 9                   That the testimony of the witness and
10      all objections made at the time of the
11      examination were recorded stenographically by me
12      and were thereafter transcribed;
13                   That the foregoing is a true and
14      accurate transcript of my shorthand notes so
15      taken.     Dated this 25th day of November, 2019.
16
17
18                   <%5755,Signature%>
19                   PER:     HELEN MARTINEAU
20                   CERTIFIED SHORTHAND REPORTER
21
22
23
24
25

                               Freedom Court Reporting
 Case 3:18-cv-00749 Document 167-6A Veritext
  877-373-3660                               CompanyPage 5 of 5 PageID #: 2490
                                    Filed 06/12/20                         205-397-2397
